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Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
Nos., State Bar No. & Email. Address
JAMIE LYNN GALLIAN
16222 MONTEREY LANE UNIT 376
HUNTINGTON BEACH, CA 92649
(714)321-3449
JAMfEGALLIAN@GMAIL.COM




 [gJ Debtor(s) appearing without an attorney
 0 Attorney tor:
                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA. SANTA ANA DIVISIONllVISION

In re:                                                                       CASE NO.: 8:21-BK-11710-ES
JAMIE LYNN GALLIAN
                                                                             CHAPTER:?


                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(0}1


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

1.   Movant(s) JAMIE LYNN GALLIAN
     filed a motion or application (Motion} entitled NOTICE OF AMENDED MOTION AND AMENDED MOTION
      TO AVOID LIEN UNDER 11 U.S.C. §522(f)

2.   Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(0), unless a
     party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3.   The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below): [gJ
     XX The full Motion is attached to this notice; or
     0 The full Motion was filed with the court as docket entry # __, and a detailed description of the relief sought is
         attached to this notice.


                                                                                      a
4.   DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
     LBR 9013-1 (o), any party who opposes the Motion may request hearing on the Motion. The deadline to file and serve
     a written opposition and request tor a hearing is 14 days after the date of service of this notice, plus 3 additional days if
     you were served by mail or pursuant to F.R.Civ.P. 5{b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 5801 SKYLAB ROAD
 HUNTINGTON BEACH, CA 92647

A true and correct copy of the foregoing document entitled: NOTICE OF OPPORTUNITY TO REQUEST A HEARING ON
AMENDED MOTION [LBR 9013-1(0)1 will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEE): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 07/22/2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice list to receive NEF transmission at the email addresses stated below:




                                                                                      !&I Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On ( date) 07/22/2022 I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
  HUNTINGTON BEACH GABLES HOMEOWNERS ASSOCIATION
 230 COMMERCE STE. 250
  IRVINE, CA92602




                                                                                      181 Service information continued on attached page

3.. SERVED BY PERSONAL DELIVERY. OVERNIGHT MAIL. FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 07/22/2022 I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 HON. ERITHE A. SMITH                                   MICHAEL POOLE, ESQ. MPOOLE@CAHOALAW .COM
 UNITED STATES BANKRUPTCY COURT                         STANELEY FELDSOTT, ESQ. FELDSOTT@GMAIL.COM
 411 WEST FOUTH STREET                                  JANINE JASSO, ESQ. J9_JASSO@YAHOO.COM
 SANTA ANA, CA 92701


                                                                                      D     Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


  07/22/2022        ROBERT MCLELLAND
 Date                          Printed Name                                                    Signature




         This form is optional. II has been approved for use in the United States Bankruptcy Court for the Central District of California.

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